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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SAMUEL 0. ARAOYE,

                    Plaintiff,                                 CIVIL ACTION

      v.                                                       NO. 19-0719

THE CITY OF PHILADELPHIA,

                    Defendant.

                                         ORDER
                           Ml-
      AND NOW, this    __j_ day of March, 2020, upon consideration of Plaintiffs Motion for
Leave to File an Amended Complaint (Doc. 25), IT IS HEREBY ORDERED AND

DECREED that the request is GRANTED.

      IT IS FURTHER ORDERED that Defendant shall respond to the Amended Complaint

on or before Tuesday, March 17, 2020.




                                                       BY THE COURT:




                                                       ~on.Petrese.{fdu,L
                                                                    B. Tucker, U.S.D.J.
